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                           Exhibit 20
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                                                        U.S. Department of Justice

                                                        Antitrust Division


                                                         Liberty Square Building
                                                         450 5th Street, N.W.
                                                         Washington, DC 20001


                                                         June 1, 2021

    Via Email (julie.elmer@freshfields.com)

    Julie Elmer, Esq.
    Freshfields Bruckhaus Deringer LLP
    700 13th Street, NW, 10th Floor
    Washington, DC 20005

                   Re:   Civil Investigative Demand No. 30471 – Handwritten Notes, Mobile
                         Devices, and Chats

    Dear Julie:

           I write to address certain topics concerning document preservation and production which
    arose during the course of the Division’s deposition of Google’s Vice President of Global
    Partnerships, Bonita Stewart, on Monday, May 17, 2021.

    Handwritten Notes

            Ms. Stewart testified that she regularly takes handwritten notes related to her work at
    Google. Stewart Dep. 39:8–42:16. She also testified that she routinely discards these notes and
    may have discarded notes after the Division commenced its investigation. Id. Ms. Stewart’s
    testimony raises significant concerns about Alphabet’s preservation and production of hard copy
    materials for Ms. Stewart and also other Google personnel. Please inform us when Alphabet will
    complete each of the following tasks: (1) complete production of all handwritten notes or other
    hard copy materials responsive to CID No. 30471 (“the CID”) for Ms. Stewart; (2) complete
    production of all handwritten notes or other hard copy materials responsive to the CID for all
    other refresh or Group D custodians; and (3) provide a written explanation of all steps taken to
    preserve hard copy documents responsive to the CID for any refresh or Group D custodian
    (including but not limited to Ms. Stewart).

    Mobile Devices

            Ms. Stewart testified that she has not yet returned her previously issued mobile device to
    the designated drop-off location in her office, notwithstanding that she participated in her
    deposition from a Google office. Stewart Dep. 30:17–32:14, 99:6–12. While the Division
    remains mindful of the ongoing disruptions caused by the COVID-19 global pandemic and the
    changes to workplace policies, the Division renews its request that Alphabet collect mobile
    devices as soon as possible. The Division reminds Alphabet of its continuing obligations to
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    protect against the loss of potentially responsive materials and to produce all documents
    responsive to the CID.

   Chats
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            In your letter of January 28, 2021, you indicated that, for chats, “employees are instructed
    to keep all potentially responsive conversations as ‘on the record,’ and are sent a reminder
    approximately every six months.” Further, we understand from you that relevant “on the record”
    chats are collected and produced as part of Alphabet’s document productions, but that chats not
    marked “on the record” are not collected and produced to the Division. During her deposition,
    Ms. Stewart testified that she has never intentionally marked a chat in Google Meets (formerly
    Google Hangouts) as “on the record.” Stewart Dep. 34:15–35:7. Ms. Stewart’s testimony raises
    questions as to whether Ms. Stewart or other custodians may have failed to record responsive
    chats as “on the record.” As an initial matter, the Division requests that Alphabet provide, for
    each refresh and Group D custodian, the number of “on the record” chats collected from each
    such custodian.

           Please let me know if you have any questions.

                                                         Sincerely,

                                                         /s/

                                                         John J. Hogan
                                                         Trial Attorney
                                                         Antitrust Division
                                                         U.S. Department of Justice
